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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------- X

 MAKADA LAMONT,
                                                                 FIRST AMENDED
                                       Plaintiff,
                                                                 COMPLAINT
                 -against-                                       Jury Trial Demanded
 THE CITY OF NEW YORK, Police Officer COLIN                      15 CV 5141(ARR)(RML)
 SULLIVAN, Shield No. 13597, Lieutenant IAN
 RULE, Police Officer JOHN DOE # 1 through 2
 in their individual and official capacities as
 employees of the City of New York,

                                       Defendants.
----------------------------------------------------------   X


         Plaintiff, MAKADA LAMONT, by her attorney, The Rameau Law Firm,

  alleges the following, upon information and belief, for this Complaint:

                                      INTRODUCTION

         1.     This is a civil rights action for money damages brought pursuant

  to 42U.S.C. §§ 1981, 1983, and 1988, the Fourth, Fifth, Sixth, Eighth, and

  Fourteenth Amendments to the United States Constitution, against the

  defendants mentioned above in their individual and official capacities, and

  against the City of New York.

         2.     On June 29, 2014, Defendants COLIN SULLIVAN, Shield No.

  13597, Lieutenant IAN RULE, Police Officer JOHN DOE # 1 through 2

  (collectively, the "Defendants") unlawfully arrested Plaintiff without probable

  cause and then assaulted and seriously injured him, all without any

  justification or due cause.

         3.     Plaintiff seeks compensatory and punitive damages and an
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  award of attorneys' fees and costs pursuant to 42 U.S.C. § 1988.

                                    JURISDICTION

        4.      This Court has subject matter jurisdiction over the federal

 claims pursuant to 28 U.S.C. §§ 1331 and 1343. Plaintiff also asserts

 jurisdiction over the City of New York under 28 U.S.C. §§ 1331.

                                          VENUE

         5.     Under 28 U.S.C. § 139l (b) and (c) , venue is proper in the

 Eastern District of New York.

                                         PARTIES

         6.     Plaintiff MAKADA LAMONT was at all material times a resident of

  the City of New York, New York State, and of proper age to commence this

  lawsuit.

         7.     Defendant COLIN SULLIVAN, Shield No. 13597 (“Sullivan”) at all

  times relevant times herein, was an officer, employee and agent of the NYPD.

  Defendant Sullivan is sued in his individual and official capacities.

         8.     Defendant Sullivan at all relevant times herein, either directly

  participated or failed to intervene in the violation of plaintiff’s rights.

         9.     Defendant Leutenant IAN RULE (Rule) at all times relevant times

  herein, was an officer, employee and agent of the NYPD. Defendant Rule is sued in

  his individual and official capacities.

         10.    Defendant Rule at all relevant times herein, either directly participated

  or failed to intervene in the violation of plaintiff’s rights

         11.    At all times relevant times defendants John Doe 1 through 2 were

  police officers, detectives or supervisors employed by the NYPD. Plaintiff does not

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  know the real names and shield numbers of defendants John Doe 1 through 2.

          12.   At all times relevant herein, defendants John 1 through 2 were acting

  as agents, servants and employees of defendant City of New York and the NYPD.

  Defendants John Doe 1 through 2 are sued in their individual and official

  capacities.

          13.   At all times relevant herein, all individual defendants were acting

  under color of state law.

          14.   The City of New York (hereinafter “The City”) is, and was at all

  material times, a municipal corporation duly organized and existing

  pursuant to the laws, statutes and charters of the State of New York. The

  City operates the N.Y.P.D., a department or agency of defendant City

  responsible for the appointment, training, supervision, promotion and

  discipline of police officers and supervisory police officers, including the

  individually named defendants herein.

          15.   The City was at all material times the public employer of

  defendant officers named herein.

          16.   The City is liable for the defendant officers’ individual actions

  pursuant to the doctrine of “respondeat superior”.

                              FACTUAL ALLEGATIONS

          17.   Plaintiff is an African-American female.

          18.   On June 29, 2014, at approximately 11:30 p.m., Plaintiff was in

  the area of Avenue of Americas and West 4 Street, City and State of New

  York,    when    defendants   approached     Plaintiff   without   justification   or


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  provocation and assaulted Plaintiff.

        19.   Defendants picked up Plaintiff and then slammed her onto the

  concrete with brute force, cuffed Plaintiff and dragged her causing Plaintiff to

  sustain bruising and lacerations.

        20.   Then defendants slammed Plaintiff against the police van. As a

  result of the impact, Plaintiff became concussed.

       21.    The defendants then transported Plaintiff to the 6th Precinct.

        22.   At the precinct, Defendant COLLIN SULLIVAN falsely informed

  members of the New York County District Attorney's Office that he had

  observed Plaintiff committing various crimes.

        23.   At no point did the Defendant observe Plaintiff committing any

  crimes or offenses.

       24.    The assigned prosecutor thereafter incorporated SULLIVAN’s

 false accusations against Plaintiff in the complaint, which SULLIVAN signed.

       25.    Lieutenant Ian Rule verified Plaintiff’s false arrest.

       26.    On or about April 20, 2015, all charges against Plaintiff were

 dismissed and sealed.

       27.    As a result of the Defendants' actions, Plaintiff suffered serious

 physical injuries, mental and emotional harm of a permanent nature, loss of

 liberty, loss of reputation, and other damages.




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                                          COUNT ONE
                                         False Arrest,
                                   42 U.S.C. § 1983 Against
                                        All Defendants

        28.     Plaintiff repeats and realleges each and every allegation above as

 if f u l l y set forth herein.

        29.     The Defendants, individually and in concert, and acting under

 the color of law, deprived Plaintiff of her rights under the Fourth and

 Fourteenth Amendments to the United States Constitution to be free from

 unreasonable s e a r c h e s and seizures and to her liberty by searching,

 arresting, confining, c a u s i n g the confinements, and/ or continuing the

 confinements of Plaintiff without any privilege whatsoever.

         30.    Plaintiff was conscious of her confinements.

         31.    Plaintiff did not consent to her confinements.

         32.    The Defendants each deprived Plaintiff of her rights

  intentionally, knowingly, willfully, or recklessly, under color of law.

         33.    As a direct and proximate result of the misconduct and abuse

  of authority detailed above, Plaintiff sustained the damages herein alleged.

                                    COUNT TWO
                               Excessive Use of Force
                       42 U.S.C. § 1983 Against All Defendants

         34.    Plaintiff repeats and realleges each and every allegation above as

  if f u l l y set forth herein.

         35.    The Defendants intentionally touched Plaintiff.



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         36.   The Defendants’ touching of Plaintiff involved the use of

  excessive physical force and caused and/ or exacerbated serious injuries to

  Plaintiff.

        37.    Plaintiff did not consent to the excessive physical contact by any

 of the Defendants, and they lacked legal justification, excuse, or privilege for

 their conduct.

        38.    By virtue of the foregoing, the Defendants each deprived Plaintiff

 of her right under the Fourth Amendment to the United States Constitution

 to be free from the excessive use of force.

        39.    The    Defendants      each       deprived   Plaintiff   of   her   rights

 intentionally, willfully, or recklessly, under color of law.

         40.   As a direct and proximate result of the misconduct and abuse

 of authority detailed above, Plaintiff sustained the damages herein alleged.




                                     COUNT THREE
                                Substantive Due Process
                               42 U.S.C. § 1983 Against All
                                       Defendants

         41.   Plaintiff repeats and realleges each and every allegation above as

  if fully set forth herein.

         42.   The Defendants each maliciously and sadistically abused their

  government power in their actions toward Plaintiff.

         43.   These actions were of a kind likely to, and which in fact did,

  produce substantial injury to Plaintiff.


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        44.     The Defendants treated Plaintiff in a manner that shocks the

  conscience.

        45.     The Defendants thus violated Plaintiff’s right to substantive due

  process under the Fifth and Fourteenth Amendments to the United

  States Constitution.

         46.    The    Defendants    each       deprived   Plaintiff   of   her   rights

  intentionally, willfully, or recklessly, under color of law.

        47.    As a direct and proximate result of the misconduct and abuse

 of authority detailed above, Plaintiff sustained the damages herein alleged.




                                   COUNT FOUR
                           Cruel and Unusual Punishment
                             8th and 14th Amendments
                               Against All Defendants

        48.     Plaintiff repeats and realleges each and every allegation above as

 if f u l l y set forth herein.

        49.     The Defendants intentionally inflicted unnecessary and wanton

 pain and punishment upon Plaintiff by punching and kicking her.

        50.     By intentionally inflicting unnecessary and wanton pain and

 punishment upon Plaintiff, the Defendants violated Plaintiff’s rights under

 the Eighth and Fourteenth Amendments to the United States Constitution.

        51.     The Defendants each deprived Plaintiff of her rights intentionally,

 willfully, or recklessly, under color of law.

        52.     As a direct and proximate result of the misconduct and abuse


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  of authority detailed above, Plaintiff sustained the damages herein alleged.



                                    COUNT FIVE
                              Denial of Constitutional
                                 Right to Fair Trial
                          Against all Individual Defendants

        53.    Plaintiff repeats and realleges each and every allegation above as

  if fully set forth herein.

        54.    Defendant SULLIVA, RULE, and the JOHN DOE defendants

  deprived Plaintiff of her rights under the Fifth, Sixth, and Fourteenth

  Amendments to the United States Constitution by manufacturing false

  evidence.

        55.    SULLIVAN, RULE, and the JOHN DOE defendants used this false

  evidence to initiate criminal proceedings against Plaintiff.

        56.    The State thereafter used this evidence to initiate criminal

 proceedings against Plaintiff.

        57.    As a result, Plaintiff was deprived of her liberty.

        58.    SULLIVAN, RULE, and the JOHN DOE defendants deprived

 Plaintiff of her rights intentionally, willfully, or recklessly, under color of law.

        59.    As a direct and proximate result of the misconduct and

 abuse of authority detailed above, Plaintiff sustained the damages herein

 alleged.




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                                           COUNT SIX
                                       Failure to Intervene

        60.    Plaintiff repeats and realleges each and every allegation as if

  fully set forth.

        61.    Those Defendants that were present and did not actively

  participate in the aforementioned unlawful conduct, observed such conduct,

  had an opportunity to prevent such conduct, had a duty to intervene and

  prevent such conduct and failed to intervene.

        62.    Accordingly, the Defendants who failed to intervene violated the

  First, Fourth, Fifth, and Fourteenth Amendments.

        63.    As a direct and proximate result of this unlawful conduct,

  Plaintiff sustained the damages hereinbefore alleged.

                                         COUNT SEVEN

                                        42 U.S.C. § 1983

                              Monell Against Defendant City

       64.     The plaintiff incorporates by reference the factual allegations set

forth above as if fully set forth herein.

       65.     Prior to the date of the incident alleged herein, the City of New

York developed and maintained policies or customs exhibiting deliberate

indifference to the constitutional rights of persons in New York, which caused

the violation of plaintiff’s rights.

       66.     It was the policy and/or custom of the City of New York to

inadequately and improperly investigate citizen complaints of widespread,


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 systemic police misconduct, and such acts of misconduct have instead been

 allowed by the City of New York.

       67.     It was the policy and/or custom of the City of New York to

 inadequately supervise and train its police officers, including the defendant

 officers, thereby failing to adequately discourage further constitutional

 violations on the part of its police officers. The City of New York did not

 require appropriate in-service training or re-training of officers who were

 known to have engaged in police misconduct.

       68.     The effects of any in-service training and re-training of officers

 known to have engaged in police misconduct were wholly negated by the

 rampant culture of misconduct and impunity sanctioned by the command

 structure of the New York City Police Department and City of New York.

       69.     As a result of the above described policies and customs, police

 officers of the City of New York, including the Defendant Officers, believed

 that their actions would not be properly monitored by supervisory officers and

 that misconduct would not be investigated or sanctioned, but would be

 allowed.

       70.     The above described policies and customs demonstrated a

 deliberate indifference on the part of policymakers of the City of New York to

 the constitutional rights of persons within the City, and were the cause of the

 violations of plaintiff’s rights alleged herein.




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                                       COUNT EIGHT

                                Malicious Abuse of Process

       71.       Plaintiff repeats and realleges each and every allegation as if fully

 set forth herein.

       72.       The individual defendants issued legal process to place Plaintiff

 under arrest.

       73.       The individual defendants arrested Plaintiff in order to obtain

 collateral objectives outside the legitimate ends of the legal process, to wit, to

 cover up their assault of him.

       74.       The individual defendants acted with intent to do harm to Plaintiff

 without excuse or justification.

       75.       As a direct and proximate result of this unlawful conduct, Plaintiff

 sustained the damages hereinbefore alleged.



                                        RELIEF

        WHEREFORE, Plaintiff requests that this Court:

       (a)    Award compensatory damages against             the defendants, jointly
 and severally;
       (b)    Award punitive damages against the individual defendants, jointly
 and severally;
       (c)    Award costs of this action to the Plaintiff;
       (d)    Award reasonable attorneys' fees and costs to the Plaintiff
 pursuant to 42 U.S.C. § 1988;


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        (e)   Such other and further relief as this Court deems just and proper.




                                   JURY DEMAND

    Plaintiff hereby demands a jury trial.


  DATED:      February 5, 2016
              Brooklyn, New York




                                      Amy Rameau, Esq.
                                      16 Court Street
                                      Suite 2504
                                      Brooklyn, NY 11241


  TO:         All Defendants
              Corporation Counsel of the City of New York




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